       Case 2:21-cv-01536-AMM Document 48 Filed 12/14/21 Page 1 of 39                        FILED
                                                                                    2021 Dec-14 PM 01:12
                                                                                    U.S. DISTRICT COURT
                                                                                        N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION

MARCUS CASTER, LAKEISHA
CHESTNUT, BOBBY LEE DUBOSE,
BENJAMIN JONES, RODNEY ALLEN
LOVE, MANASSEH POWELL,                           Case No. 2:21-CV-1536-AMM
RONALD SMITH, and WENDELL
THOMAS,
             Plaintiffs,
    v.

JOHN H. MERRILL, in his official
capacity as Alabama Secretary of State,

                   Defendant.


                  DECLARATION OF WILLIAM S. COOPER

      WILLIAM S. COOPER, acting in accordance with 28 U.S.C. § 1746,

Federal Rule of Civil Procedure 26(a)(2)(B), and Federal Rules of Evidence 702

and 703, does hereby declare and say:

      I. INTRODUCTION

      1. My name is William S. Cooper. I have a B.A. in Economics from

Davidson College. As a private consultant, I currently serve as a demographic and

redistricting expert for the Plaintiffs. I am compensated at a rate of $150 per hour.

(a) Redistricting Experience

      2. I have been qualified in federal courts at trial as an expert witness on

redistricting and demographics in about 45 voting rights cases in 19 states. My
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testimony in these lawsuits almost always included a review of demographics and

socioeconomic characteristics for the jurisdictions at issue. Five of these lawsuits

resulted in changes to statewide legislative boundaries: Rural West Tennessee

African-American Affairs v. McWherter, Old Person v. Cooney, Bone Shirt v.

Hazeltine, Alabama Legislative Black Caucus v Alabama, and Thomas v. Reeves.

Approximately 25 of the cases led to changes in local election district plans.1

       3. In November 2019, I testified in the Northern District of Alabama at trial

on behalf of plaintiffs challenging Alabama’s 2011 Congressional Plan under

Section 2 of the Voting Rights Act – Chestnut v. Merrill, Case No. 2:18-cv-00907.

       4. In 2019, I prepared a consent decree election plan for the Jefferson

County, Alabama Board of Education (James v. Jefferson County Board of

Education). I served as a redistricting consultant to the City of Decatur, Alabama

(Voketz v. City of Decatur) between 2015 and 2020. I also served as a redistricting

consultant to the plaintiffs in Alabama State NAACP v. City of Pleasant Grove in

2018 and 2019. In 2018, I testified on behalf of the plaintiffs in a Section 2 case

captioned Alabama State Conference of the NAACP v. Alabama involving at-large

judicial elections.



1
 I have served as an expert witness on demographics in non-voting trials. For example, in an
April 2017 opinion in Stout v. Jefferson County Board of Education (Case No.2:65-cv-00396-
MHH), a school desegregation case involving the City of Gardendale, Alabama, the court made
extensive reference to my testimony.

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       5. I currently serve as a redistricting consultant to the San Juan County, Utah

Commission, with responsibility for developing election plans for the 3-district

county commission and the 5-district school board. In October 2021, I briefly

served as a consultant to the city council in Wenatchee, Washington and determined

that the 2018 redistricting plan I drew is not malapportioned under the 2020 Census.

       6. For additional historical information on my testimony as an expert witness

and experience preparing and assessing proposed redistricting maps for Section 2

litigation, see a summary of my redistricting work attached as Exhibit A.

(b) Purpose of Report

       7. The attorneys for the Plaintiffs in this case asked me to determine whether

the African American population in Alabama is “sufficiently large and

geographically compact”2 to allow for the creation of two U.S. House majority-

Black districts – one more than under the enacted plan (the “2021 Plan”).

       8. In addition, the attorneys asked me to review historical and current

demographics reported in the decennial Census, as well as socioeconomic

characteristics reported in the 1-year 2019 American Community Survey (“ACS”)

for African Americans and non-Hispanic Whites.3


2
  Thornburg v. Gingles, 478 U.S. 30, 50 (1986).
3
  In this report, “Black” and “African American” are synonymous, as are “Latino” and
“Hispanic.” Unless otherwise noted, “Black” refers to persons of all ages who are any part Black
(“AP Black”), i.e., single-race Black or more than one race and some part Black. “White” or
“NH White” means non-Hispanic White. The AP Black classification includes all persons who

                                               3
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       9. Exhibit B describes the sources and methodology I have employed in the

preparation of this report. I also reviewed the “Reapportionment Committee

Guidelines for Redistricting,” which addresses Alabama’s 2021 legislative and

congressional redistricting.4

(c) Expert Summary Conclusions

       10. Based on the 2020 Census, African Americans in Alabama are

sufficiently numerous and geographically compact to allow for two majority-Black

U.S. House districts in a seven-district plan.

       11. As reported in the 1-Year 2019 American Community Survey, non-

Hispanic Whites significantly outpace African Americans across most key

indicators of socio-economic well-being. These disparities are found statewide, as

well as at the regional level in central and south Alabama.

(d) Organization of Declaration

       12. The remainder of this declaration is organized as follows: Section II

reviews state and regional demographics; Section III compares the benchmark

2011 U.S. Congressional Plan and the enacted 2021 U.S. Congressional Plan;


self-identified in the 2020 Census as single-race Black or some part Black, including Hispanic
Black. It is my understanding that following the U.S. Supreme Court decision in Georgia v.
Ashcroft, 539 U.S. 461 (2003), the “Any Part” definition is the appropriate Census classification
to use in most Section 2 cases.
4
  Source:
http://www.legislature.state.al.us/aliswww/reapportionment/Reapportionment%20Guidelines%2
0for%20Redistricting.pdf.

                                                4
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Section IV presents six illustrative plans that feature a second majority-Black

congressional district in central and south Alabama; Section V reviews

socioeconomic disparities by race –statewide and by congressional district – with

corresponding charts.

II.   DEMOGRAPHIC PROFILE OF ALABAMA

(a) 2010 to 2020 – Population by Race and Ethnicity

      13. As shown in Figure 1, according to the 2020 Census, Alabama has a

total population of 5,024,279. Single-race non-Hispanic Whites (“NH Whites”) are

a majority of the population (63.12%). Any Part Black Alabamians (“AP Black”)

comprise 27.16% of the population and are the largest minority population,

followed by Latinos (5.26%), who may be of any race.




                                          5
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         Figure 1

                                     Alabama – 2010 Census to 2020 Census

                                        Population by Race and Ethnicity5

                                      2010                      2020                     Change % Change
                                     Number      Percent       Number     Percent    2010 to 2020 2010-2020
      Total Population               4,779,736 100.00%         5,024,279 100.00%        244,543   5.12%
      NH White                       3,204,402 67.04%          3,171,351 63.12%         -33,051  -1.03%
      Total Minority Pop.            1,575,334 32.96%          1,852,928 36.88%         277,594 17.62%
      Latino (all races)               185,602   3.88%           264,047   5.26%         78,445 42.27%
      NH SR Black                    1,244,437 26.04%          1,288,159 25.64%          43,722   3.51%
      NH SR Asian                       25,907   0.54%            75,918   1.51%         50,011 193.04%
      NH SR Hawaiian and Pacific        52,937   1.11%            23,119   0.05%        -29,818 -56.33%
      slander*#
      NH SR American Indian and
      Alaska Native                     1,976      0.04%          2,612      0.46%          636 32.19%
      NH SR Other                       4,030      0.08%         14,455      0.29%       10,425 258.68%
      Single-race Black (including
      Black Hispanics)               1,251,311    26.18% 1,296,162         25.80%        44,851      3.58%
      Any Part Black (including
      Black Hispanics)               1,281,118    26.80% 1,364,736         27.16%        83,618      6.53%



         14. The population in Alabama grew by 5.12% between 2010 and 2020,

from about 4.78 million to 5.02 million. In 2010, minorities represented about one

third (32.96%) of the population. By 2020, that figure grew to 36.88% of the

statewide population. In fact, all of Alabama’s population growth between 2010 and

2020 (244,543) can be attributed to an increase in the minority population

(277,594), offsetting a population loss of 33,051 NH White persons.

         15. The Any Part Black population grew by 6.53% between 2010 and 2020,

from 1.28 million to 1.36 million. African Americans represent 34% of the


5
    PL94-171 Redistricting File (Census 2010 and Census 2020)

                                                           6
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population increase between 2010 and 2020 in Alabama (83,618 of 244,543

persons).

(b) 2020 Census – Spatial Distribution of the Black Population

       16. According to the 2020 Census, about half of Alabama’s Black population

(49.53%) is concentrated in the urban counties of Jefferson (Black pop. 289,515),

Mobile (Black pop. 152,471), Montgomery (Black pop. 134,029), and Madison

(Black pop. 99,875). The rural Black Belt counties (excluding urban Black Belt

Montgomery) account for 8.68% of the statewide Black population.6 The Counties

of Lee and Tuscaloosa – home to the two largest state universities in Alabama –

contain 8.34% of the statewide Black population. Taken together, the urban

counties, rural Black Belt counties, and university counties encompass two-thirds

(66.54%) of the statewide Black population.

       17. The map in Figure 2 displays the state’s Black population by county

under the 2020 Census, with bold lines demarcating the Black Belt region. The

table in Exhibit C reports 2020 population by county by race and ethnicity.


6
 In this declaration, the term “Black Belt” refers to the following counties: Barbour, Bullock,
Dallas, Greene, Hale, Lowndes, Macon, Marengo, Montgomery, Perry, Sumter, and Wilcox.
This is consistent with my testimony in Alabama Legislative Black Caucus v Alabama and
Alabama State Conference of the NAACP v. Alabama.

For an overview of Alabama’s Black Belt, including a listing of Black Belt counties under
various definitions, see the article “Black Belt Region in Alabama” by Terance L. Winemiller,
Auburn University at Montgomery, in the Encyclopedia of Alabama.
http://www.encyclopediaofalabama.org/article/h-2458

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Figure 2
       2020 Census – Black Belt Region and Black Population by County




(c) Voting Age and Citizen Voting Age

      18. As shown in Figure 3, African Americans in Alabama constitute a

slightly smaller percentage of the voting age population (VAP) than the total

population. According to the 2020 Census, Alabama has a total VAP of 3,917,166 –

of whom 1,014,372 (25.90%) are AP Black. The NH White VAP is 2,564,544

(65.47%).




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Figure 3
                    Alabama – 2020 Voting Age Population &
                  2019 Estimated Citizen Voting Age Population
                            By Race and Ethnicity7
                                                                      2019
                                                       2020 VAP      CVAP
                                              2020 VAP Percent       Percent
                   Total                      3,917,166 100.00% 100.00%
                   NH White 18+               2,564,544 65.47%    68.5 %
                   Total Minority 18+         1,352,622 34.53%    31.5%
                   Latino 18+                   166,856   4.26%    2.2%
                   Single-race Black (Including
                   Black Hispanics)18+            981,723   25.06%     26.7%
                   Any Part Black (Including
                   Black Hispanics) 18+         1,014,372   25.90%     27.3%

      19. The rightmost column in Figure 3 reveals that both the Black and NH

White population comprise a higher percentage of the citizen voting age population

(“CVAP”) than the corresponding voting age population, owing to higher non-

citizenship rates among other minority populations.

      20. According to estimates from the 1-year 2019 American Community

Survey (“ACS”), African Americans represent 27.3% of the statewide CVAP –

more than a percentage point higher than the 2020 AP Black VAP. The NH White

7
 Sources:
PL94-171 Redistricting File (Census 2020);

Table S2901 -- CITIZEN, VOTING-AGE POPULATION BY SELECTED
CHARACTERISTICS (1-year 2019 ACS )
https://data.census.gov/cedsci/table?q=S2901&g=0400000US01&tid=ACSST1Y2019.S2901&hi
dePreview=true.

2019 ACS 1-Year Estimates 1-Year Estimates-Public Use Microdata Sample
https://data.census.gov/mdat/#/search?ds=ACSPUMS1Y2019&vv=AGEP(18:99)&cv=RACBL
K(1)&rv=ucgid,CIT(1,2,3,4)&wt=PWGTP&g=0400000US01




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CVAP is 68.5% – 3 percentage points higher than NH White VAP in the 2020

Census.8

III.   ALABAMA CONGRESSIONAL PLANS – 2021 and 2011

(a) 2021 Enacted Congressional Plan

       21. On November 4, 2021, Governor Ivey signed into law a new

congressional plan (the “2021 Plan”) with CD 7 as the only majority-Black district

and six county splits.9 The map in Figure 4 depicts the 2021 Plan.




8
  Due to the COVID-19 pandemic, the 1-year 2020 ACS results will not be published.
Source:
https://www.census.gov/newsroom/press-releases/2021/changes-2020-acs-1-year.html
9
  Source for GIS shapefile: https://redistrictingdatahub.org/state/alabama/

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Figure 4
              Alabama – Enacted 2021 U.S. House Plan




      22. Majority-Black CD 7 encompasses part of Jefferson County and extends

southwest to include the southern half of Tuscaloosa County and rural Black Belt

counties along the Mississippi border, then east through part of the Back Belt to

northwest Montgomery County.

      23. The table in Figure 5 shows 2020 summary population statistics for the

2021 Plan. Exhibit D-1 contains more detailed 2020 population statistics.




                                         11
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Figure 5
                     2021 U.S. House Plan – 2020 Census

                                                         % 18+       % 18+ NH
                    District   Population 18+ Pop       AP Black      White
                       1          717754      557535      25.61%         66.00%
                       2          717755      557677      30.12%         62.03%
                       3          717754      564281      24.99%         67.74%
                       4          717754      556133       7.70%         82.41%
                       5          717754      561187      18.06%         70.89%
                       6          717754      552286      18.93%         71.16%
                       7          717754      568067      55.26%         38.60%

       24. The map in Exhibit D-2 is a higher resolution version of the Figure 4

map. Exhibit D-3 contains maps that focus on CDs 1, 2, and 7 – the general area

where a second majority-Black district can be drawn. Exhibit D-4 identifies

county and VTD10 splits in the 2021 Plan. The 2021 Plan splits six counties and

seven populated VTDs.

       25. As shown in Figure 5, CD 7 in the 2021 Plan is 55.26% BVAP, and the

remaining six districts are all 30% BVAP or lower, consistent with the “cracking”11

that was also evident in the 2011 Plan (discussed further below).

       26. The map in Figure 6 illustrates cracking in the 2011 and 2021

congressional plans. The Figure 6 map overlays the four 2021 Plan congressional

districts in central and south Alabama – CDs 1, 2, 3, and 7 (demarcated by bold


10 “VTD” is a Census Bureau term meaning “voting tabulation district.” VTDs generally
correspond to precincts as they existed at the time of the 2020 Census.
11 “Cracking” is a term which describes redistricting plans characterized with one or more
districts that fragment or divide the minority population, resulting in an overall dilution of
minority voting strength in the voting plan.

                                                 12
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lines) onto a map displaying 2020 Black population by county. Red lines show

areas where CD 7 was different under the 2011 Plan. Under both the 2011 and

2021 plans, Black voters who do not live in CD 7 are divided or cracked into

neighboring districts, rather than joined into a second majority-Black opportunity

district.

Figure 6
            Central and South Alabama Under the 2021 Plan and 2011 Plans




       27. Under both the 2011 Plan and the 2021 Plan, majority-Black Macon

County is in majority-White CD 3, which extends north to encompass Cherokee

County in Appalachian Alabama. Majority-Black Bullock County and plurality-


                                         13
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Black Barbour County are joined with southeast Alabama counties in majority-

White CD 2. The majority-Black City of Mobile (Black pop. 100,265) is in

majority-White CD 1. Most of majority-Black Montgomery County is in majority-

White CD 2.

       28. According to the 2020 Census, less than one-third (30.02%) of

Alabama’s Black population lives within majority-Black 2021 CD 7. By contrast,

91.8% of the 2020 NH White population lives in one of the six majority-White

districts.

       29. As shown in Figure 5 supra, most of the remainder of the Black

population outside of CD 7 is distributed relatively evenly into CD 1 (25.61%

BVAP), CD 2 (30.12% BVAP), and CD 3 (24.99% BVAP). Taken together, these

three districts have a total 2020 Black population of 612,759 (and a BVAP of

451,759), which is nearly enough population to comprise an entire congressional

district (85.4% of a full congressional district).

       30. For reference, Exhibit E-1 contains detailed 2020 population statistics by

district for the 2011 Plan, which are summarized below in Figure 7.




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Figure 7
                           2011 U.S. House Plan – 2020 Census

                                                                 % 18+      % 18+ NH
        District   Population Deviation    % Dev. 18+ Pop       AP Black     White
           1          726276       8522      1.19%    564302      25.67%        66.00%
           2          693466     -24288     -3.38%    539812      30.60%        61.87%
           3          735132      17378      2.42%    576455      25.83%        66.45%
           4          702982     -14772     -2.06%    543423       7.18%        82.84%
           5          761102      43348      6.04%    595873      17.97%        71.19%
           6          740710      22956      3.20%    572838      16.37%        73.88%
           7          664611     -53143     -7.40%    524463      60.16%        33.84%

       31. Exhibit E-2 is a state-produced map of the 2011 Plan12 and Exhibit E-3

is a state-produced map of the 2021 Plan.13 As shown in Exhibit E-4, there are

seven county splits in the 2011 Plan. Under the 2020 Census geography, the 2011

Plan splits populated areas in 47 VTDs.

IV.    ILLUSTRATIVE PLANS

A. GEOGRAPHICAL AREA

(a) The Board of Education Plan –1996-2021

       32. The area covered by the two majority-Black districts in Alabama’s 2021

Board of Education Plan (“BOE Plan”) is strikingly similar to the coverage area for

the two majority-Black districts in the Plaintiffs’ illustrative congressional plans

presented in Section B.


12 Source:
http://www.legislature.state.al.us/aliswww/Legislature/2011_Congressional_Districts.pdf
13 Source:
https://www.sos.alabama.gov/alabama-votes/state-district-maps



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       33. For the past quarter century, more than half of the African Americans in

Alabama have lived in one of the two state Board of Education (“BOE”) minority

opportunity districts in 8-district plans.

       34. According to the 2000 Census, under the court-ordered 1996 BOE Plan

BOE District 4 was 46.63% SR BVAP and BOE District 5 was 51.75% SR BVAP.

Under the 2001 BOE Plan, BOE District 4 was 47.61% SR BVAP and BOE

District 5 was 51.97% SR BVAP.14

       35. According to the 2010 Census, under the 2011 BOE Plan, District 4 and

District 5 were both majority-BVAP. BOE District 4 was 51.43% BVAP and BOE

District 5 was 57.5% BVAP. According to the 2010 Census, the combined Black

population in these two districts was 683,923, which represented more than half

(53.38%) of the statewide Black population. Figure 8 shows the 2011 BOE Plan.




14 Source: February 2, 2002 Section 5 letter from the Alabama Attorney General to the U.S.
Department of Justice, available at the Web Archive link below:
https://web.archive.org/web/20141018111338/http://www.legislature.state.al.us/reapportionment
/boe/boe.html
The Any Part Black population count was not reported in the Census 2000 PL94-171 file and
therefore could not be included here.

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Figure 8
                   Alabama – 2011 Board of Education Plan




      36. According to the 2020 Census, under the 2011 BOE Plan, District 4 and

District 5 remain majority-BVAP. 2011 BOE District 4 is 51.51% BVAP and 2011

BOE District 5 is 57.72% BVAP.

      37. In 2021, the Legislature once again created two majority-Black BOE

districts in central and south Alabama. The 2021 BOE Plan was signed into law by

Governor Ivey on the same day as the 2021 U.S. House Plan. According to the

2020 Census, the combined SR Black population in 2021 BOE District 4 and BOE



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District 5 was 646,759, which represents more than half (51.69%) of the statewide

Black population.

      38. The 2021 BOE Plan is depicted in Figure 9. 15

Figure 9
                     Alabama – 2021 Board of Education Plan




15 Source for 2021 BOE Map in Figure 9 is an October 25, 2021 tweet from Alabama Rep.
Chris England
via: https://twitter.com/RepEngland70/status/1452674057640550407.




                                           18
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      39. Exhibit F-1 is a state-produced map of the 2021 BOE Plan.16

      40. Exhibit F-2 contains 2020 population statistics by district. District 4 is

51.21% SR BVAP. District 5 is 51.27% SR BVAP.17




16 Source for PDF map of 2021 BOE Plan via
https://www.sos.alabama.gov/alabama-votes/state-district-maps
https://www.sos.alabama.gov/sites/default/files/State%20Districts/McClendon%20SBOE%20Pla
n%201_Letter%20size%20map.pdf

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       41. Similar to the 2021 BOE Plan, the six illustrative plans described below

create a second majority-BVAP congressional district in central and south

Alabama.

B. ILLUSTRATIVE PLAN FEATURES

(a) Area Encompassed by the Illustrative Majority-Black Districts

       42. There are a variety of ways to draw two majority-Black congressional

districts in Alabama that adhere to traditional redistricting principles and Alabama’s

redistricting guidelines, and this has been true since at least the 2010 Census. At the

November 2019 Chestnut v. Merrill trial and by way of expert reports, I presented

four illustrative plans, based on the 2010 Census, all of which contained two

majority-Black districts out of seven.

       43. Based on the 2020 Census, it is still possible to draw two majority-Black

congressional districts, while adhering to traditional redistricting principles.

       44. The six illustrative plans described below demonstrate that there are

viable remedies in this Section 2 lawsuit. Alternative configurations besides these

six illustrative plans featuring two majority-Black congressional districts are


17 Source for 2021 BOE Plan population statistics – an October 25, 2021 tweet from Alabama
Rep. Chris England via:

https://twitter.com/RepEngland70/status/1452674057640550407

I do not have access to a GIS shapefile of the 2021 BOE Plan, so I am unable to produce detailed
statistics that would include Any Part Black VAP percentages.

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possible.

(b) Traditional Redistricting Principles

      45. The illustrative plans demonstrate that the Black population is sufficiently

numerous and geographically compact to allow for the creation of an additional

majority-Black district.

      46. All six illustrative plans comply with traditional redistricting principles,

including population equality, compactness, contiguity, respect for communities of

interest, and the non-dilution of minority voting strength.

      47. The illustrative plans are drawn to follow, to the extent possible, county

boundaries. Where counties are split to comply with one-person one-vote

requirements, I have generally used whole 2020 Census VTDs as sub-county

components. Where VTDs are split, I have followed census block boundaries that

are aligned with roads, natural features, or municipal boundaries.




(c) Common Characteristics of the Illustrative Plans

      48. The six illustrative plans share the following features:

      • The 2020 Black VAP in the illustrative majority-Black districts is above
        50% in all six plans.




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       • Based on the most current citizenship data available (from the 5-year
         2015-2019 ACS Special Tabulation), NH single-race Black CVAP in the
         illustrative majority-Black districts is above 50% in all six plans.18
       • The Black VAP to NH White VAP percentage point margins in the
         illustrative majority-Black districts range from 6.12 percentage points
         (CD 2, Illustrative 1) to 14.73 percentage points (CD 7, Illustrative 2).
       • Four of the six illustrative plans split six counties – the same number of
         split counties as the 2021 Plan. Illustrative Plan 2 and Illustrative Plan 6
         split seven counties – the same number as the 2011 Plan.
       • The illustrative plans create a new majority-Black District 2 that includes
         African American communities in Mobile County, Montgomery County
         and the central and eastern rural Black Belt counties.
       • New majority-Black District 2 under the illustrative plans has a
         configuration that is similar to District 5 in the 2021 BOE Plan and the
         2011 BOE Plan.
       • Under the illustrative plans, District 7 includes African American
         communities in Jefferson County, Tuscaloosa County, and the western
         rural Black Belt counties, as District 7 does in the 2021 Plan.
       • Mobile County is split between majority-White District 1 and majority-
         Black District 2 in all of the illustrative plans, as it is in the 2021 BOE
         plan.
       • Baldwin County is entirely in District 1 under all of the illustrative plans.
       • Under all six of the illustrative plans, one can travel from District 1 in
         Mobile County to District 1 in Baldwin County without leaving District
         1.
       • Five of the illustrative plans join the District 1 part of Mobile County to
         Baldwin County following I-10 and U.S. 98 across Mobile Bay. Under
         Illustrative Plan 6 (placing all of the City of Mobile into District 1),
         secondary roads directly connect the District 1 part of Mobile County to
         District 1 in Baldwin County.
       • All Plaintiffs reside in majority-minority districts under the illustrative
         plans.


18 https://www.census.gov/programs-surveys/decennial-census/about/voting-rights/cvap.html


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C. SUMMARY DESCRIPTIONS OF ILLUSTRATIVE PLANS

(a) Illustrative Plan 1

       49. The map in Figure 10 depicts Illustrative Plan 1. District 2 is 50.09%

 BVAP and District 7 is 53.28% BVAP.

 Figure 10
                    Alabama U.S. House – Illustrative Plan 1




      50.    Majority-Black District 2 encompasses part of Mobile County,

extends north to include all of Washington and Choctaw Counties, then east

through the Black Belt counties. Henry, Barbour and Russell Counties form the




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eastern boundary. The northeast part of Montgomery County is merged into District

3.

       51.   Majority-Black District 7 encompasses part of Jefferson and

Tuscaloosa Counties as well as Sumter County on the Mississippi state line. Dallas

and Wilcox Counties form the eastern border of District 7.

       52.    The table in Figure 11 shows 2020 summary population statistics for

Illustrative Plan 1. Exhibit G-1 contains detailed 2020 population statistics by

district.

Figure 11
                             Illustrative Plan 1 – 2020 Census
                                                    % 18+      % 18+
                  District    Population 18+ Pop   AP Black   NH White
                     1           717755   557084     16.03%      74.88%
                     2           717754   559442     50.09%      43.97%
                     3           717753   563119     22.53%      68.99%
                     4           717753   555541      6.31%      83.20%
                     5           717755   561688     18.66%      70.63%
                     6           717754   556122     13.95%      77.62%
                     7           717755   564170     53.28%      39.41%

       53. The map in Exhibit G-2 is a higher resolution version of the Figure 10

map. Exhibit G-3 contains maps focusing on District 2 and District 7 and adjacent

areas. As shown in Exhibit G-4, Illustrative Plan 1 splits six counties and populated

areas in 16 VTDs.




(b) Illustrative Plan 2


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       54.The map in Figure 12 depicts Illustrative Plan 2. District 2 is 50.88%

 BVAP and District 7 is 53.79% BVAP.


Figure 12
                    Alabama U.S. House – Illustrative Plan 2




       55. Under Illustrative Plan 2, District 2 is similar in geographic extent to

 Illustrative Plan 1. Additional areas of Montgomery County are merged into

 District 3, allowing parts of Dothan to be joined with District 2.

       56. District 7 is geographically similar to District 7 under the 2021 enacted

 Plan. The eastern border of District 7 is Lowndes County, whereas District 7 in


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 the 2021 Plan crosses into Montgomery County to pick up some neighborhoods in

 the City of Montgomery.

       57.       The table in Figure 13 shows 2020 summary population statistics for

Illustrative Plan 2. Exhibit H-1 contains detailed 2020 population statistics by

district.

Figure 13
                                Illustrative Plan 2 – 2020 Census
                                                       % 18+      % 18+
                     District    Population 18+ Pop   AP Black   NH White
                        1           717754   558142     14.92%      75.87%
                        2           717754   558446     50.88%      43.29%
                        3           717755   562845     21.97%      69.52%
                        4           717753   555526      6.31%      83.20%
                        5           717755   561688     18.66%      70.63%
                        6           717754   555856     14.34%      77.09%
                        7           717754   564663     53.79%      39.06%


            58. The Illustrative Plan 2 maps in the Exhibit H series are identical in

  format to the maps in the Exhibit G series (Illustrative Plan 1). As shown in

  Exhibit H-4 Illustrative Plan 2 splits seven counties – the same number as the

  2011 Plan and one more than the 2021 Plan. Populated areas in 13 VTDs are

  split.

            59. To reach zero deviation, 15 persons in Calhoun County are assigned to

  District 6, with the remainder in District 3. Arguably, this 15-person de minimis




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 split in Calhoun County could be eliminated by assigning all of Calhoun County

 to District 3, resulting in just six county splits.19

(c) Illustrative Plan 3

       60. The map in Figure 12 depicts Illustrative Plan 3. District 2 is 50.27%

BVAP and District 7 is 50.09% BVAP.

Figure 14
                      Alabama U.S. House – Illustrative Plan 3




       61. Majority-Black District 2 encompasses part of Mobile County and

extends east to encompass Macon and Bullock Counties.


19 Tennant v. Jefferson Cnty. Comm'n, 567 U.S. 758 (2012).


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       62. Majority-Black District 7 encompasses part of Jefferson County and

extends south to Tuscaloosa County and west to Sumter and Pickens Counties.

       63. The table in Figure 15 shows 2020 summary population statistics for

Illustrative Plan 3. Exhibit I-1 contains detailed 2020 population statistics by

district.

Figure 15
                             Illustrative Plan 3– 2020 Census

                                                    % 18+      % 18+
                  District    Population 18+ Pop   AP Black   NH White
                     1           717753   557048    17.23%      73.86%
                     2           717752   559299    50.27%      43.53%
                     3           717755   562300    25.49%      66.43%
                     4           717755   559374     7.30%      82.21%
                     5           717755   561688    18.66%      70.63%
                     6           717755   554093    11.93%      79.81%
                     7           717754   563364    50.09%      42.12%

       64. The Illustrative Plan 3 maps in the Exhibit I series are identical in format

to the Exhibit G and H series. As shown in Exhibit I-4, Illustrative Plan 3 splits six

counties and populated areas in 10 VTDs.

(d) Illustrative Plan 4

       65. The map in Figure 16 depicts Illustrative Plan 4. District 2 is 50.07%

BVAP and District 7 is 50.09% BVAP.




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Figure 16
                    Alabama U.S. House – Illustrative Plan 4




      66. Majority-Black District 2 encompasses part of Mobile County, extends

north to include all of Choctaw County, then east to the Georgia state line to include

all of Barbour County – part of the historical Black Belt.

      67. Majority-Black District 7 encompasses part of Jefferson County and all

of Tuscaloosa County and stretches west to the Mississippi state line, with Perry

and Marengo Counties forming the eastern border.


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       68. The table in Figure 17 shows 2020 summary population statistics for

Illustrative Plan 4. Exhibit J-1 contains detailed 2020 population statistics by

district.

       Figure 17
                              Illustrative Plan 4 – 2020 Census

                                                       % 18+        % 18+
                  District   Population 18+ Pop       AP Black     NH White
                      1          717753    557046        17.23%      73.87%
                      2          717752    561374        50.07%      43.92%
                      3          717755    564004        25.10%      67.19%
                      4          717755    556215         6.73%      82.75%
                      5          717755    561685        18.66%      70.63%
                      6          717755    554035        12.93%      77.83%
                      7          717754    562807        50.09%      42.53%


            69.   The Illustrative Plan 4 maps in the Exhibit J series are identical in

 format to the maps in the Exhibit G, H, and I series. As shown in Exhibit J-4

 Illustrative Plan 4 splits six counties and populated areas in 12 VTDs.

 (e) Illustrative Plan 5

            70.   The map in Figure 18 depicts Illustrative Plan 5. District 2 is 50.24%

 BVAP and District 7 is 50.09% BVAP.




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Figure 18
             Alabama U.S. House – Illustrative Plan 5




       71.   Majority-Black District 2 encompasses part of Mobile County,

 extends north to include all of Washington County and part of Choctaw County,

 then east though the Black Belt counties. Macon, Bullock, and Pike Counties form

 the eastern boundary, along with Coffee County, where the current District 2

 incumbent resides.

       72.   Majority-Black District 7 encompasses part of the Counties of

 Jefferson and Tuscaloosa, extends west to the Mississippi state line, then south to

 share Choctaw County with District 2 and east to Perry County.


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        73.    The table in Figure 19 shows 2020 summary population statistics for

 Illustrative Plan 5. Exhibit K-1 contains detailed 2020 population statistics by

 district.

Figure 19
                    Illustrative Plan 5 – 2020 Census

                                                    % 18+      % 18+
                   District   Population 18+ Pop   AP Black   NH White
                      1          717754   557535    17.12%      74.18%
                      2          717755   557677    50.24%      43.20%
                      3          717754   564281    24.52%      67.49%
                      4          717754   556133     6.10%      83.50%
                      5          717754   561187    18.66%      70.63%
                      6          717754   552286    14.16%      77.64%
                      7          717754   568067    50.09%      42.02%



      74.     The Illustrative Plan 5 maps in the Exhibit K series are identical in

format to the maps in the Exhibit G, H, I, and J series. As shown in Exhibit K-4,

Illustrative Plan 5 splits six counties and populated areas in 20 VTDs.


(f) Illustrative Plan 6

      75.     The map in Figure 20 depicts Illustrative Plan 6. District 2 is 51.28%

BVAP and District 7 is 51.09% BVAP.




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Figure 20
               Alabama U.S. House – Illustrative Plan 6




        76.    Illustrative Plan 6 demonstrates that it is possible to create a second-

 majority-Black district while keeping all of the population in the Cities of Mobile

 and Montgomery, as well as Montgomery County, whole in the new district. The

 enacted 2011 Plan and the enacted 2021 Plan split the City of Montgomery.

        77.    Majority-Black District 2 encompasses part of Mobile County,

 including all of the City of Mobile, before extending north to include the Black

 Belt counties on the Mississippi state line. Part of Pickens County is shared with

 District 4.


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        78.   At the Washington County line, District 2 extends as far east as

 Macon and Bullock Counties, including all of Montgomery County.

        79.   Majority-Black District 7 encompasses part of the Counties of

 Jefferson and Tuscaloosa, extending south to Dallas County. To the east District 7

 shares Autauga County with District 3.

        80.   The table in Figure 21 shows 2020 summary population statistics for

 Illustrative Plan 6. Exhibit L-1 contains detailed 2020 population statistics by

 district.

Figure 21
               Illustrative Plan 6 – 2020 Census
                                                  % 18+      % 18+
                 District   Population 18+ Pop   AP Black   NH White
                    1          717753   557535    15.83%      75.27%
                    2          717755   557677    51.28%      42.36%
                    3          717753   564281    24.77%      67.22%
                    4          717754   556133     5.63%      83.83%
                    5          717755   561187    18.66%      70.63%
                    6          717755   552286    13.58%      78.31%
                    7          717754   568067    51.09%      41.08%


        81.   The Illustrative Plan 6 maps in the Exhibit L series are identical in

 format to the maps in the Exhibit G, H, I, J, and K series. As shown in Exhibit L-

 4, Illustrative Plan 6 splits seven counties and populated areas in 27 VTDs.

 However, fifteen of the 27 VTD splits are created because the plan generally

 follows the city limits of the City of Mobile (rather than VTDs) to define the




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 boundary between District 1 and District 2.

 (g) Compactness Measures

       82.    The districts in the illustrative plans are reasonably shaped and compact

– and clearly within the normal range for compactness as compared to

congressional plans nationwide.20

       83. Figure 22 reports compactness scores generated by Maptitude for the

2011 U.S. Congressional Plan, the 2011 BOE Plan, the 2021 U.S. Congressional

Plan, and the Illustrative Plans. The table summarizes the Reock21 and Polsby-

Popper22 scores – the two most widely-referenced measures of compactness. Higher

scores indicate higher compactness.




20 See, for example, Redrawing the Map 2012 Addendum by geospatial firm Azavea –
examining the compactness scores for post-2010 congressional plans in all states:
https://2rct3i2488gxf9jvb1lqhek9-wpengine.netdna-ssl.com/wp-
content/uploads/2019/08/Azavea_Redistricting-White-Paper-Addendum-2012_sm.pdf
21 “The Reock test is an area-based measure that compares each district to a circle, which is
considered to be the most compact shape possible. For each district, the Reock test computes the
ratio of the area of the district to the area of the minimum enclosing circle for the district. The
measure is always between 0 and 1, with 1 being the most compact. The Reock test computes
one number for each district and the minimum, maximum, mean and standard deviation for the
plan.” Maptitude For Redistricting software documentation (authored by the Caliper
Corporation).
22 The Polsby-Popper test computes the ratio of the district area to the area of a circle with the
same perimeter: 4pArea/ (Perimeter2). The measure is always between 0 and 1, with 1 being the
most compact. The Polsby-Popper test computes one number for each district and the minimum,
maximum, mean and standard deviation for the plan. Maptitude For Redistricting software
documentation (authored by the Caliper Corporation).

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Figure 22
    Compactness Scores – Illustrative Plans vs 2011 Plans and 2021 Plan
                                  Reock                   Polsby-Popper
                                        Low        High            Low    High
   2011 U.S. Congressional Plan
   All Districts (mean avg.)      .38        .22    .49      .19    .13    .29
   CD 2                           .49                        .22
   CD 7                           .38                        .13
   2011 BOE Plan
   All Districts (mean avg.)      .40        .24    .52      .19    .15    .22
   BOE District 4                 .40                        .15
   BOE District 5                 .37                        .15
   2021 U.S. Congressional Plan
   All Districts (mean avg.)      .38        .30    .50      .22    .15    .32
   CD 2                           .50                        .26
   CD 7                           .43                        .19
   Illustrative Plan 1
   All Districts (mean avg.)      .34        .21    .47      .18    .13    .33
   District 2                     .36                        .18
   District 7                     .37                        .13
   Illustrative Plan 2
   All Districts (mean avg.)      .34        .21    .52      .18    .12    .33
   District 2                     .31                        .12
   District 7                     .40                        .13
   Illustrative Plan 3
   All Districts (mean avg.)      .34        .20    .47      .18    .12    .33
   District 2                     .33                        .14
   District 7                     .37                        .13
   Illustrative Plan 4
   All Districts (mean avg.)      .33        .20    .41      .22    .13    .34
   District 2                     .33                        .24
   District 7                     .41                        .24
   Illustrative Plan 5
   All Districts (mean avg.)      .29        .19    .39      .18    .11    .33
   District 2                     .39                        .19
   District 7                     .23                        .11
   Illustrative Plan 6
   All Districts (mean avg.)      .31        .24    .35      .16    .10    .34
   District 2                     .29                        .11
   District 7                     .34                        .11



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       84. Compared to the 2021 Plan, the Illustrative Plans are generally in the

same range of compactness.23

V.     SOCIOECONOMIC PROFILE OF ALABAMA

       85. Non-Hispanic Whites in Alabama significantly outpace African

Americans across a broad range of socioeconomic measures, as reported in the 1-

year 2019 ACS. 24 This disparity is summarized below and depicted with further

detail in charts found in Exhibit M-1 and the table in Exhibit M-2.

       86.       For additional socioeconomic data by congressional district in the

general region where the illustrative plans create two majority-Black districts, see

Exhibits N (CD 1), Exhibits O (CD 2), Exhibits P (CD 3), Exhibits Q (CD 6),

and Exhibits R (CD 7).25

       (a) Income

             African Americans in Alabama experience a poverty rate (23.4%) that
             •
       is more than twice that of Whites (11.5%). (Exhibit M-1 at p. 22 and
       Exhibit M-2 at p. 8)




23 As noted in footnote 13 (supra), I do not have a GIS shapefile for the 2021 BOE Plan, so I am
unable to run compactness scores on that plan.
24 In this section, as elsewhere in this report, “White” refers to NH White. Black or African
American refers to Any Part Black.
25 Source: https://data.census.gov/cedsci/table?text=s0201&t=-0A%20-
   %20All%20available%20non-Hispanic%20Origin%3A005%20-
   %20Black%20or%20African%20American%20alone%20or%20in%20combination%20with
   %20one%20or%20more%20other%20races&g=0400000US01,01%245000000&y=2019&tid
   =ACSSPP1Y2019.S0201&hidePreview=true

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   • The child poverty rate for African Americans is 34.1%, compared to
13.2% of White children. (Exhibit M-1 at p. 22 and Exhibit M-2 at p. 8)

   •  Black median household income is $35,900, which is just 59.9% of
White median household income is $59,966. (Exhibit M-1 at p. 14 and
Exhibit M-2 at p.7)

   •   Per capita income disparities in Alabama track the disparities seen in
median household income. Black per capita income is $20,402, compared to
White per capita income of $32,939. (Exhibit M-1 at p. 17 and Exhibit M-
2 at p. 8)

   • Over a quarter (25.4%) of Black households rely on food stamps,
compared to 8.2% of White households. (Exhibit M-1 at p. 15 and Exhibit
M-2 at p. 7)

(b) Education

   •  Of persons 25 years of age and over, 14.9% of African Americans
have not finished high school, compared to 10.9% of their White
counterparts. (Exhibit M-1 at p. 5 and Exhibit M-2 at p. 3)

   •  At the other end of the educational scale, for ages 25 and over, 19.4%
of African Americans have a bachelor’s degree or higher, compared to
28.8% of Whites. (Exhibit M-1 at p. 5 and Exhibit M-2 at p. 3)

(c) Employment

   •   The Black unemployment rate (for the population over 16, expressed
as a percent of the civilian labor force) is 7.7%, compared to a 3.8% White
unemployment rate. (Exhibit M-1 at p. 11 and Exhibit M-2 at p. 5)

   •  Of employed African Americans, 25.8% are in management or
professional occupations, compared to 40.3% of Whites. (Exhibit M-1 at p.
13 and Exhibit M-2 at p. 6)

(d) Housing

   • In Alabama, about half of Black householders (50.5%) are
homeowners, while over three-quarters of White households (77.1%) are
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       owner-occupied. (Exhibit M-1 at p. 21 and Exhibit M-2 at p. 9)

          •  About one in eight of Black households (11.7%) lack access to a
       vehicle, while just 3.8% of White households are without a vehicle. (Exhibit
       M-1 at p. 23 and Exhibit M-2 at p. 9)

          •  Median home value for Black homeowners is $101,800, which is just
       61.4% of the median home value for Whites ($165,800). (Exhibit M-1 at p.
       25 and Exhibit M-2 at p.10)

       87. For comparison, I have prepared similar charts depicting socioeconomic

characteristics for the state, all Alabama counties, and places with significant Black

population according to the 5-year 2015-2019 ACS.26 These charts are available

for download at: http://www.fairdata2000.com/ACS_2015_19/Alabama/

                                        ###

       I reserve the right to continue to supplement my reports in light of additional

facts, testimony and/or materials that may come to light.



       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on: December 10, 2021




                                                    WILLIAM S. COOPER



26 The 2019 1-year ACS is not available for counties and places with populations under 20,000.
   The 5-year 2015-2019 ACS reports SR Black socioeconomic estimates only. AP Black
   estimates are not published in the 5-year ACS.

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